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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

                                             UNDER SEAL

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-293 (JNE/DTS)

MOHAMED MUSE NOOR
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-85 (NEB/TNL)

MOHAMED JAMA ISMAIL
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-124 (NEB/TNL)

ABDIAZIZ SHAFI FARAH, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-222 (NEB/TNL)

LIBAN YASIN ALISHIRE, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-223 (NEB/TNL)

AIMEE MARIE BOCK, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                      Criminal No. 22-224 (NEB/TNL)

QAMAR AHMED HASSAN, ET AL.
________________________________________
        CASE 0:22-cr-00238-NEB Doc. 18 Filed 10/26/22 Page 2 of 3
UNITED STATES OF AMERICA

      v.                                          Criminal No. 22-225 (NEB/TNL)

SHARMAKE JAMA, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                             Criminal No. 22-226 (NEB/TNL)

HAJI OSMAN SALAD, ET AL.
________________________________________

UNITED STATES OF AMERICA

      v.                                             Criminal No. 22-236 (SRN)

HANNA MARAKEGN
________________________________________

UNITED STATES OF AMERICA

      v.                                             Criminal No. 22-237 (JNE)

BEKAM ADDISSU MERDASSA
________________________________________

UNITED STATES OF AMERICA

      v.                                             Criminal No. 22-238 (JRT)

HADITH YUSUF AHMED
________________________________________

           NOTICE TO THE COURT OF POSSIBLE RELATED CASES

      The undersigned attorney hereby notifies the Court and counsel that the above-

captioned cases are related for the following reasons:

■     The cases involve the same act or transaction connected with or constituting a
      part of a common conspiracy, scheme or plan;
■     The cases arise out of the same operative set of facts, behavioral episode or course
      of conduct whether the prior cases are open or closed;
■     The cases arise out of the same investigation and have temporal proximity;
■     A subsequent case results from cooperation rendered by a defendant or defendants
      in a previous case, whether open or closed; and

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■     The cases stem from an investigation of a common organization; e.g., a particular
      gang, corporation, financial institution, etc., and the cases involve common
      personnel and/or factual scenarios.


Dated: October 26, 2022                      Respectfully submitted,

                                             ANDREW M. LUGER
                                             United States Attorney

                                              /s/ Joseph H. Thompson
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